                       IN THE UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF WISCONSIN



WILLIAM FEEHAN and DERRICK VAN
ORDEN,
                                                        CASE NO. 2:20-cv-1771
         Plaintiffs.
v.

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARLC
L. THOMSEN, MARGE BOSTELMAN,
JULIE M. GLANCEY, DEAN HUDSON,
ROBERT F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS, in
his official capacity,

         Defendants.




                PLAINTIFFS’ CORRECTED MOTION FOR
             DECLARATORY, EMERGENCY, AND PERMANENT
                        INJUNCTIVE RELIEF



     Pursuant to FRCP 65 and Civil L. R. 7, COME NOW Plaintiffs, William Feehan and Derrick

Van Orden, by and through their undersigned counsel, and file this Amended Motion for

Declaratory, Emergency, and Permanent Injunctive Relief.

     This Corrected Motion is to correct the Motion filed earlier this same day, which was a draft

Motion inadvertently filed as the original Motion without attaching the Proposed Order pursuant

to the Court’s Electronic Case Filing Policies and Procedures Manual.

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    The specific relief requested by Plaintiff is set forth in the proposed Order is attached. The

basis for the Motion is set forth in Plaintiffs’ Memorandum submitted in support.



       Respectfully submitted, this 1st day of December, 2020.


                                             LEAD COUNSEL FOR PLAINTIFFS


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**Applications for admission forthcoming


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                       CERTIFICATE OF ELECTRONIC SERVICE

    Pursuant to FRCP 65, this is to certify that upon filing of this Motion, Plaintiffs will provide

electronic notice to Defendants of this Action and Motion as follows:

              Defendants Wisconsin Elections Commission and
              Wisconsin Elections Commissioners:
              elections@wi.gov

              Defendant Governor Tony Evers
              eversinfo@wisconsin.gov




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                          IN THE UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF WISCONSIN



WILLIAM FEEHAN, DERRICK VAN
ORDEN,
                   Plaintiffs,                                 CASE NO. 2:20-cv-1771
            v.

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK L.
THOMSEN, MARGE BOSTELMAN, JULIE
M. GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official capacities,
GOVERNOR TONY EVERS, in his official
capacity,
                          Defendants.

  ____________________________________________________________________________

             ORDER GRANTING EMERGENCY INJUNCTIVE RELIEF
  ____________________________________________________________________________

    THE COURT has before it Plaintiffs’ Emergency Motion for Injunctive Relief filed December

1, 2020, seeking:

    1. An order directing the Defendants Wisconsin Elections Commission and Governor Tony

Evers not to certify or to de-certify the 2020 election results in the Presidential and District 3

Congressional races;

    2. An order enjoining Defendants from transmitting the currently certified Presidential election

results to the Electoral College;

    3. An order requiring Governor Evers to transmit certified Presidential election results that state

that President Donald Trump is the winner of the election;

    4. An immediate emergency order to seize and impound all servers, software, voting machines,

tabulators, printers, portable media, logs, ballot applications, ballot return envelopes, ballot images,
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paper ballots, and all “election materials” referenced in Wisconsin Statutes § 9.01(1)(b)11. related to

the November 3, 2020 Wisconsin election for forensic audit and inspection by the Plaintiffs;

    5. An order that no votes received or tabulated by machines that were not certified as required

by federal and state law be counted;

    6. A declaratory judgment declaring that Wisconsin’s failed system of signature verification

violates the Electors and Elections Clause by working a de facto abolition of the signature verification

requirement;

    7. A declaratory judgment declaring that currently certified election results violate the Due

Process Clause, U.S. CONST. Amend. XIV;

    8. A declaratory judgment declaring that mail-in and absentee ballot fraud must be remedied

with an individual manual recount or statistically valid sampling that properly verifies a ballot

application for each absentee ballot, that verifies the signatures on absentee ballot envelopes, and

that invalidates the certified results in the Presidential and District 3 Congressional races if the

recount or sampling analysis shows a sufficient number of ineligible absentee ballots were counted;

    9. A declaratory judgment declaring absentee ballot fraud occurred in violation of

Constitutional rights, Election laws and under Wisconsin state law; and

   10. A permanent injunction prohibiting the Governor and the Wisconsin Elections Commission

from transmitting the currently certified results to the Electoral College based on the overwhelming

evidence of election tampering.

    Plaintiffs also contend that any recalibration or reset of voting machines, tabulations machines,

or other election-related mechanisms, servers, software, voting machines, tabulators, printers,

portable media, logs, or processes, and any alteration or destruction of ballot applications, ballot

return envelopes, ballot images, paper ballots, registration lists, poll lists, or any other “election

materials” referenced in Wisconsin Statutes § 9.01(1)(b)11. related to the November 3, 2020
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Wisconsin election, whether pursuant to § 7.23, Wisconsin Statutes, or otherwise, will make it

impossible to conduct a valid recount or inspection by Plaintiffs’ experts or others.

    Plaintiffs contend any such act and any like it must be immediately enjoined across the state of

Wisconsin pursuant to 52 U.S.C. § 20701 (preservation of voting records) because resetting the

machines or other alteration or destruction of election equipment, records, or other materials would

destroy the evidence or alter evidence and make impossible any forensic computer audit of the

election computer systems for the November 3, 2020 General Election.

    Plaintiffs therefore ask for an injunction to prevent any wiping or alteration of data or other

records or materials, and to ensure forensic analysis can take place.

    Plaintiffs further ask for emergency injunctive to expedite the flow of discovery material and to

preserve all voting-related computer data information.

    The Court has reviewed the terms and conditions of this Emergent Injunctive Relief Order, and

for good cause shown IT IS HEREBY ORDERED THAT:

    1. A Temporary Restraining Order is immediately in effect to preserve the voting machines in

the State of Wisconsin, and to prevent any wiping or alteration of data or other records or materials,

until such time as a full computer audit is completed;

    2. Governor Evers and the Wisconsin Elections Commission are to de-certify the election

results;

    3. Governor Evers is hereby enjoined from transmitting the currently certified election results

to the Electoral College;

    4. Governor Evers is required to transmit certified election results that state that President

Donald Trump is the winner of the election;

    5. It is hereby Ordered that no votes received or tabulated by machines that were not certified

as required by federal and state law be counted;
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    6. It is hereby declared and ordered that Wisconsin’s failed system of signature verification

violates the Electors and Elections Clause by working a de facto abolition of the signature verification

requirement;

    7. It is hereby declared and ordered that the currently certified election results violate the Due

Process Clause, U.S. CONST. Amend. XIV;

    8. It is hereby declared and ordered that mail-in and absentee ballot fraud must be remedied

with a Full Manual Recount or statistically valid sampling that properly verifies a ballot application

for each absentee ballot, that verifies the signatures on absentee ballot envelopes, and that invalidates

the certified results in the Presidential and District 3 Congressional races if the recount or sampling

analysis shows a sufficient number of ineligible absentee ballots were counted;

    9. It is hereby declared that absentee ballot fraud occurred in violation of Constitutional rights,

Election laws and under Wisconsin state law; and

   10. It is hereby declared and ordered that Governor Evers and the Wisconsin Elections

Commission are enjoined from transmitting the currently certified results to the Electoral College

based on the overwhelming evidence of election tampering;


         It is so Ordered, this ___ day of December, 2020.




                                                Hon. Pamela Pepper
                                                District Court Judge
                                                Eastern District of Wisconsin, Milwaukee Division




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